                  Case 7:24-cv-02333-PMH                            Document 16                   Filed 08/25/24                 Page 1 of 1
                                                                                      File#
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..
                   ____.Icourt           □
                                     1so THERN DISTRICT                        Index/case # l24-CV-02333(PMH)



                           P.F.
                         Plaintiff
                                                                                                   -I               AFFIDAVIT OF SERVICE

                           Y.F.
                         Defendant



Isays: KINGS     ICounty, Sate of: INEW YORK               I           CA VIN D N LSON
                                                                                     ..,""'"' "" "" ""'
       Deponent is not a party herein; is over the age of 18 years and�r-es,d e-s in- th-e S�t-a..
                                                                                                             being sworn,
                                                                                                              ""'
                                                                                                te- of______.__________

 On: 123-Aug-24                      12:01PM       lam/pm at:180 MERON PlACE, MONSEY, NEW YORK 10952

 Deponent served the within            ORDER TO SHOW CAUSE WITH EXHIBITS

 On: IYAAKOV FELBERBAUM                                                        (herein after called the recipient) therein named.

18:Jtndividual           By delivering a true copy of each to said recipient personally; Deponent knew the person so served to be the person
                         described in as said recipient therein

t::Jsultable Age         by delivering thereat a true copy of each to                                            a person of suitable age
         person          and discretion. Said premises is defendants
                                                                        ===------------,==--�
                                                                        D Actual Place of Residence D Actual Place of Business within the State
t:::]Affixing to Door    By affixing a true copy of each to the door of said premises which is defendants
                        CJActual Place of Residence          DActual Place of Business, within the State
                        Deponent was unable with due diligence to find defendant or person of suitable age and discretion thereat having called
                        there

t:::]corporatlon or      by delivering thereat a true copy of each to '------- ---- --' personally. Deponent knew said corporation
        Partnership      / partnership so served to be the corporation/partnership described in said aforementioned document as said defendant and
                         knew said individual to be I                                             thereof.
                                                                                                    j
c:J Mailing              Within 20 days of such delivery, or affixing, deponent enclosed a copy of same in a postpaid envelope properly addressed to


                         at,____________________________
                         defendant at defendant's last known          Actual Place of Residence                 Actual Place of Business,
                                                                                                                   __.
                         and deposited said envelope in an official depository under the· exclusive care and custody of the U.S. Postal Service within



                                                                    §                                                 §
                         New York State. The envelope bore the legend "personal and confidential" and did not indicate on the outside, thereof by
                         return address or otherwise that the communication was from an attorney or concerned an action against the defendant.
�Description             GJ Male                      white skin        black hair                      14-20 Yrs         Under5'              Under 100 Lbs
                         D Female                     black skin        brown hair                      21-35Yrs          5'0""-5'3"           100-130 Lbs
                                           §          yellow skin       gray hair                       36..S0Yrs         5'41'-5'8"          131-160 Lbs
                                                      brown skin    D   blonde hair                     51--65 Yrs    W5'9"-6'0
                                                                                                                                "             161-200 Lbs
                                                      red skin      D   red hair                        Over65Yrs     Oover6'                  Over200 Lbs

                         Other Identifying Features

[:)Military Service      I asked the person spoken to whether defendant was in active military service of the United States or the State of New York
                         in any capacity whatever and received a negative reply. The source of my information and the grounds of my belief are the
                         conversations and observations above narrated.


t:::]
           Subpoena Fee Tendered in the amount of

CJ
 Swom ID                  f
                        .._A_ug_u_s1_2 _s,_20_ 2_4 ________.
           ;;;;;
                                                                                                     !CALVIN D NELSON2122153


  NOTARY PUBLIC


      "1         Menachem White
      \\ifotary Public, State ofNew Yor
                                        k
            Reg.No.02WH6241478
           Qua lifi�d in Nassau County
      Comm,ss  _ 1on
                       Expires 05/23/2027
